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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


IN RE: Criminal Cases

      This matter is before the Court upon the Court's own motion:

       IT IS HEREBY ORDERED that government's exhibits in the case listed below are to be returned
to the United States Attorney for appropriate disposition.

      CASE NUMBER                                    CAPTION

      8:96CR157                        USA v. Larry D. Gilreath
      8:00CR268                        USA v. Virgil Wayne Hicks, Brenda Parsons,
                                       James Wynn
      8:01CR252                        USA v. Glenn Smith
      8:01CR278                        USA v. Alfonso Genico-Morales
      8:02CR20                         USA v. Arturo Portillo
      8:02CR42                         USA v. Miles Bohac
      8:02CR164                        USA v. Ramon Garcia-Pena, Jose G. Diaz-Diaz;
                                       Yamil Rivera-Kader; Yasmin Valdez-Penaloza
      8:02CR289                        USA v. Charles F. Adkins
      4:02CR3152                       USA v. Gabriel Blanco-Araugo
      4:02CR3160                       USA v. John H. Thompson
      4:02CR3196                       USA v. William Stonerook
      8:03CR36                         USA v. Juan M. Rodriguez, Gypsy F. Rodriguez,
                                       Fabian Fernandez-Hildalgo, Alejandro Vasquez
      8:03CR190                        USA v. Alberto Esquival-Orozco
      8:03CR399                        USA v. Felipe Ramos-Flores
      8:04CR30                         USA v. Brandon J. Wilson
      8:04CR54                         USA v. Ingreat Norris Swift
      8:04CR65                         USA v. Aaron Long
      8:04CR124                        USA v. Anthony Harris
      8:04CR264                        USA v. Julio Santiago
      8:04CR316                        USA v. Gary L. Napier, Jr.
      8:04CR359                        USA v. Antonio Finn
      8:04CR387                        USA v. William Coates, Kay Ann Hackett
      8:04CR404                        USA v. Higinia Solorio
      8:04CR509                        USA v. Jose Junior Monroy
      8:04CR543                        USA v. John R. Otte
      8:05CR94                         USA v. Estrella Alba-Cruz
      8:05CR101                        USA v. Joseph Jewell
      8:05CR116                        USA v. Allen Cotton
      8:05CR131                        USA v. Scott D. Freese, Jesus Padilla, Raul
                                       Jiminez, Benjamin Sukup, Pablo Reza Landin,
                                       Mollie Moler
      8:05CR134                        USA v. Sam B. Vacanti
      8:05CR163                        USA v. Daniel Cerna, Jazmin Cerna
      8:05CR339                        USA v. Arturo Gomez Molina
      8:05CR354                        USA v. Blakely Amanda Pettigrew
      8:05CR378                        USA v. Marco A. Covarrubias
      8:05CR418 (Sealed)               USA v. Maxine Jackson
      8:06CR60                         USA v. Rufus Freemont
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8:06CR61                        USA v. Dalinda Garcia, Jesus Alberto
                                Padilla-Palacios
8:06CR140                       USA v. John L. Parks
8:06CR166                       USA v. Chandra Wrightsell
8:06CR231                       USA v. Richard Lee Baird, Jr
8:06R253                        USA v. Timothy A. Peavy
8:06CR304                       USA v. Tara Williams


DATED this 13th day of June, 2007.


                                      BY THE COURT

                                      s/Laurie Smith Camp
                                      United States District Judge
